                  Case 22-10877-LSS          Doc 6       Filed 09/19/22   Page 1 of 16




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11

MARINER HEALTH CENTRAL, INC., et al.,1                     Case No. 22- 10877 (      )

                 Debtors.                                  (Joint Administration Requested)


      MOTION OF THE DEBTORS FOR ENTRY OF INTERIM AND FINAL ORDERS
        (I) DETERMINING ADEQUATE ASSURANCE OF PAYMENT FOR FUTURE
    UTILITY SERVICES, (II) PROHIBITING UTILITY PROVIDERS FROM ALTERING,
       REFUSING, OR DISCONTINUING UTILITY SERVICES, (III) ESTABLISHING
      PROCEDURES FOR DETERMINING ADEQUATE ASSURANCE OF PAYMENT,
     (IV) REQUIRING UTILITY PROVIDERS TO RETURN DEPOSITS FOR UTILITY
         SERVICES NO LONGER IN USE, AND (V) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”)

hereby submit this motion (this “Motion”) for the entry of interim and final orders, substantially

in the forms attached hereto as Exhibit A and Exhibit B (respectively, the “Interim Order” and

“Final Order,” and together the “Proposed Orders”) (i) determining adequate assurance of payment

for future utility services, (b) prohibiting utility providers from altering, refusing, or discontinuing

services, (c) establishing procedures for determining adequate assurance of payment, (d) requiring

utility providers to return deposits for utility services no longer in use, and (e) granting related

relief. In support of the Motion, the Debtors rely on the Declaration of Lawrence Perkins in

Support of First Day Relief and First Day Pleadings (the “First Day Declaration”) filed

contemporaneously herewith and respectfully represent as follows:




1
      The Debtors, along with the last four digits of each Debtor’s tax identification number, are Mariner
      Health Central, Inc. (6203), Parkview Holding Company GP, LLC (1536), and Parkview Operating
      Company, LP (7273). The Debtors’ headquarters are located at 3060 Mercer University Drive, Suite
      200, Atlanta, GA 30341.

                                                     1
               Case 22-10877-LSS         Doc 6       Filed 09/19/22   Page 2 of 16




                                JURISDICTION AND VENUE

       1.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a

core proceeding within the meaning of 28 U.S.C. § 157(b)(2) and may be determined by the Court.

       2.      The bases for the relief requested herein are sections 105(a) and 366 of title 11 of

the United States Code (the “Bankruptcy Code”) and Rules 6003 and 6004 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 9013-1(m) of the Local Rules for the

United States Bankruptcy Court for the District of Delaware (the “Local Rules”).

       3.      The Debtors confirm their consent, pursuant to Bankruptcy Rule 7008 and Local

Rule 9013-1(f), to the entry of a final order by the Court in connection with this Motion if later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

                                        BACKGROUND

       4.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code commencing the above-captioned

chapter 11 cases. The Debtors have also filed a motion requesting joint administration of these

chapter 11 cases pursuant to Bankruptcy Rule 1015(b). The Debtors are operating as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request for the

appointment of a trustee or examiner has been made in these chapter 11 cases, and no official

committees have been appointed or designated.




                                                 2
                Case 22-10877-LSS            Doc 6       Filed 09/19/22     Page 3 of 16




        5.      The three Debtors, Mariner Health Central, Inc. (“Mariner Central”), Parkview

Holding Company GP, LLC (“Parkview Holdco”) and Parkview Operating Company, LP

(“Parkview”), are part of the Mariner Health Care group of healthcare services providers,

consultants and holding companies (collectively, the “Mariner Companies”), all of which are direct

or indirect subsidiaries of non-Debtor Mariner Health Care, Inc. Certain of the Mariner Companies

operate 20 skilled nursing facilities (the “Mariner Facilities”), with nearly 2,200 licensed beds and

approximately 3,100 employees, that provide short-term rehabilitation, comprehensive post-acute

skilled care, long-term care, therapy, and other services. For more than 30 years, the Mariner

Facilities have delivered quality, affordable care to historically underserved persons and

communities. Additional information regarding the Debtors’ operations, structure, liabilities, and

the events leading up to the commencement of these cases is set forth in the First Day Declaration,

which is incorporated herein by reference.2

        6.      In the ordinary course of their operations, the Debtors obtain electricity, natural gas,

water, telephone, internet, and other such services (collectively, the “Utility Services”) from a

number of utility companies and providers (collectively, the “Utility Providers”) and incur

obligations for such services. A non-exclusive list of the Utility Providers as of the Petition Date

is attached hereto as Exhibit C (the “Utility Service List”).3

        7.      As shown on Exhibit C, the Debtors typically incur charges of approximately

$42,000 per month for the Utility Services, which amounts are timely paid in the ordinary course

of business. Also as shown on Exhibit C, one of the Utility Providers, PG&E, holds a security



2
    Capitalized terms used but not defined herein have the meanings given in the First Day Declaration.
3
    Although Exhibit C is intended to be comprehensive, one or more Utility Providers may have been
    inadvertently omitted. The Debtors’ requested relief is applicable to all Utility Services and Utility
    Providers, regardless of whether such service or provider is specifically identified on Exhibit C, unless
    expressly noted otherwise herein.

                                                     3
                Case 22-10877-LSS          Doc 6       Filed 09/19/22   Page 4 of 16




deposit in the amount of $13,776 for gas and electric services at the Parkview facility (the “Existing

Utility Deposit”), which amount is approximately 1.4 times the typical monthly charge.

       8.      Uninterrupted Utility Services are essential to the Debtors’ provision of services,

including medical care by Parkview to its patients and the provision of support services by Mariner

Central to Parkview and other Mariner Company skilled nursing facilities. Any interruption,

however brief, to utility services to the Debtors will result in a serious disruption of the Debtors’

operations and dramatically affect resident care. Therefore, it is critical that the Court prohibit the

Utility Providers from altering, refusing, or discontinuing service to the Debtors without further

order of this Court. The deposit and procedures described herein, with the streamlined mechanism

for requesting further adequate assurance described below, provides adequate assurance of

payment for each of the Utility Providers as well as safeguarding the Debtors’ continuing

operations and the health and safety of their patients.

                                      RELIEF REQUESTED

       9.      The Debtors seek entry of orders: (a) determining adequate assurance of payment

for future utility services; (b) prohibiting utility providers from altering, refusing, or discontinuing

services; (c) establishing procedures for determining adequate assurance of payment; (d) requiring

utility providers to return deposits for utility services no longer in use; and (e) granting related

relief. In addition, the Debtors request that the Court schedule a final hearing to consider entry of

the Final Order.

 A. Proposed Adequate Assurance of Payment and Procedures

       10.     Consistent with their prior practice, the Debtors intend to pay postpetition Utility

Services Obligations in a timely manner. Cash held by the Debtors, cash generated in the ordinary

course of business, and cash available to the Debtors under their proposed postpetition financing



                                                   4
               Case 22-10877-LSS         Doc 6       Filed 09/19/22   Page 5 of 16




facility will provide sufficient liquidity to timely pay the Debtors’ Utility Services Obligations in

the ordinary course and consistent with their prepetition practice.

       11.     To provide additional assurance of payment, the Debtor propose to deposit (to the

extent not already deposited) into one or more segregated accounts the aggregate amount of

$22,000.00 (the “Adequate Assurance Deposit”), which represents an amount approximately one-

half of the Debtors’ average monthly cost for Utility Services, calculated based on the Debtors’

average utility expenses over the prior 12 months. The Debtors request the authority to adjust the

amount of the Adequate Assurance Deposit to account for the termination, if any, of Utility

Services by the Debtors or by agreement between the Debtors and the affected Utility Provider

without further order of the Court. In this manner, the Debtors propose to provide adequate

“assurance of payment” by providing the Utility Providers with cash deposits equal to or

approximately one-half of the Utility Providers’ “average monthly bill” as reflected in Exhibit C,

in a total sum not to exceed the Adequate Assurance Deposit, in accordance with Section

366(c)(1)(A)(i) of the Bankruptcy Code.

       12.     The Adequate Assurance Deposits will be held in segregated accounts (the

“Adequate Assurance Accounts”) at Bank of America, N.A. for the sole benefit of the Utility

Providers for the duration of these chapter 11 cases, and may be applied to any postpetition

payment defaults owed to the Utility Providers by the Debtors. The Adequate Assurance Deposit

will be held by the Debtors, and no liens will encumber the Adequate Assurance Deposit or the

Adequate Assurance Account. The Debtors submit that the Adequate Assurance Deposit, in

conjunction with the Debtors’ ability to pay for future utility services in accordance with their

prepetition practices (collectively, with the Existing Utility Deposit as applicable, the “Proposed




                                                 5
               Case 22-10877-LSS         Doc 6       Filed 09/19/22   Page 6 of 16




Adequate Assurance”), constitutes sufficient adequate assurance to the Utility Providers in full

satisfaction of section 366 of the Bankruptcy Code.

       13.     Nevertheless, if any entity believes that it is a Utility Provider and seeks to make a

request for additional adequate assurance of future payment (each, an “Adequate Assurance

Request”), the Debtors request they be required to do so pursuant to the following procedures (the

“Adequate Assurance Procedures”):


               a.     The Debtors will serve a copy of this Motion, and the order granting relief
                      requested herein on an interim basis, on each Utility Provider within two
                      business days after entry of such order by the Court.

               b.     Subject to paragraphs (e)–(i) herein, to the extent not already deposited into
                      the Adequate Assurance Accounts, the Debtors will deposit the Adequate
                      Assurance Deposit, in the aggregate amount of $22,000, in the Adequate
                      Assurance Accounts within ten business days after entry of the Interim
                      Order.

               c.     Each Utility Provider, other than any Utility Provider holding a prepetition
                      security deposit, shall be entitled to the funds in the Adequate Assurance
                      Account equal to or approximately one-half of the Utility Providers’
                      “average monthly bill” as reflected in the Utility Service List.

               d.     If an amount relating to Utility Services provided postpetition by a Utility
                      Provider is unpaid, and remains unpaid beyond any applicable grace period,
                      such Utility Provider may request a disbursement from the Adequate
                      Assurance Account by giving notice to: (i) proposed counsel to the Debtors,
                      Raines Feldman LLP, 1350 Avenue of the Americas, 22nd Floor, New York,
                      NY 10019-4801, Attn: Hamid R. Rafatjoo (hrafatjoo@raineslaw.com) and
                      Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor,
                      P.O. Box 8705, Wilmington, DE 19899-8705, Attn: Laura Davis Jones
                      (ljones@pszjlaw.com); (ii) counsel to any statutory committee appointed in
                      these cases; and (iii) those parties requesting notice pursuant to Bankruptcy
                      Rule 2002 (collectively, the “Notice Parties”). The Debtors shall honor
                      such request within five business days after the date the request is received
                      by the Debtors, subject to the ability of the Debtors and any such requesting
                      Utility Provider to resolve any dispute regarding such request without
                      further order of the Court after consultation with counsel to the agents under
                      the Debtors’ postpetition financing facility. To the extent a Utility Provider
                      receives a disbursement from the Adequate Assurance Accounts, the
                      Debtors shall replenish the Adequate Assurance Accounts in the amount
                      disbursed.

                                                 6
Case 22-10877-LSS      Doc 6        Filed 09/19/22   Page 7 of 16




e.   Any Utility Provider desiring additional assurances of payment in the form
     of deposits, prepayments, or otherwise must serve a request for additional
     assurance (an “Additional Assurance Request”) on the Notice Parties.

f.   Any Utility Provider that objects to the Debtors’ Proposed Adequate
     Assurance must serve an Additional Assurance Request on the Notice
     Parties.

g.   Any Additional Assurance Request must: (i) be in writing; (ii) identify the
     location for which the Utility Services are provided; (iii) include the alleged
     outstanding balance for the affected account(s); (iv) certify the amount that
     is equal to one-half the average monthly cost of the Utility Services the
     Utility Provider supplies to the Debtors over the prior 12-month period; (v)
     provide evidence that the Debtors have a direct obligation to the Utility
     Provider; and (vi) explain why the Utility Provider believes the Proposed
     Adequate Assurance is not sufficient adequate assurance of future payment.

h.   Any Utility Provider who does not file an Additional Assurance Request
     shall be: (i) deemed to have received adequate assurance of payment
     “satisfactory” to such Utility Provider in compliance with section 366 of the
     Bankruptcy Code; and (ii) forbidden to discontinue, alter, or refuse services
     to, or discriminate against, the Debtors on account of any unpaid prepetition
     charges, or require additional assurance of payment other than the Proposed
     Adequate Assurance.

i.   Upon the Debtors’ receipt of an Additional Assurance Request, the Debtors
     shall have 21 calendar days from the receipt of the Additional Assurance
     Request (the “Resolution Period”) to negotiate with the Utility Provider to
     resolve such Additional Assurance Request.

j.   Without further order of the Court, the Debtors may enter into agreements
     granting additional adequate assurance to a Utility Provider serving an
     Additional Assurance Request if the Debtors determine that the Additional
     Assurance Request is reasonable.

k.   If the Debtors determine that the Additional Assurance Request is not
     reasonable and the Debtors are unable to reach an alternative resolution with
     the Utility Provider, the Debtors, during or immediately after the Resolution
     Period, will request a hearing (a “Determination Hearing”) before the Court
     at the next scheduled omnibus hearing to determine the adequacy of
     assurance of payment with respect to that Utility Provider pursuant to
     section 366(c)(3) of the Bankruptcy Code.

l.   Pending resolution of such dispute at a Determination Hearing, the relevant
     Utility Provider shall be prohibited from altering, refusing, or discontinuing
     service to the Debtors.



                                7
                Case 22-10877-LSS         Doc 6       Filed 09/19/22   Page 8 of 16




                m.     The Adequate Assurance Deposit deposited into the Adequate Assurance
                       Account on behalf of any Utility Provider (including any additional amount
                       deposited upon request of any applicable Utility Provider), or any portion
                       thereof, shall be returned to the Debtors, less any amounts owed on account
                       of unpaid, postpetition Utility Services, by no later than five business days
                       following the earlier of the date upon which (i) a chapter 11 plan becomes
                       effective after being confirmed in these chapter 11 cases or (ii) the Debtors
                       provide notice to a Utility Provider that services provided to the Debtors by
                       such Utility Provider will no longer be needed or will be reduced.

       14.      The Adequate Assurance Procedures set forth a streamlined process for Utility

Providers to address potential concerns with respect to the Proposed Adequate Assurance, while

at the same time allowing the Debtors to administer their chapter 11 estates uninterrupted. More

specifically, the Adequate Assurance Procedures permit a Utility Provider to object to the

Proposed Adequate Assurance by serving an Additional Assurance Request upon the Notice

Parties. The Debtors, in their discretion, may then resolve any Additional Assurance Request by

mutual agreement with the Utility Provider and without further order of the Court. If the

Additional Assurance Request cannot be resolved by mutual agreement, the Debtors may seek

Court resolution of the Additional Assurance Request.

       15.      Absent compliance with the Adequate Assurance Procedures, the Debtors request

that all Utility Providers, including subsequently added Utility Providers, be forbidden from

altering, refusing, or discontinuing service or requiring additional assurance of payment other than

the Proposed Adequate Assurance. The relief requested herein is for all Utility Providers providing

Utility Services to the Debtors and is not limited to those parties or entities listed on the Utility

Service List.

 B. Subsequently Identified Utility Providers.

       16.      To the extent the Debtors identify new or additional Utility Providers or discontinue

services from existing Utility Providers, the Debtors seek authority to add or remove parties from

the Utility Services List. For any Utility Provider that is subsequently added to the Utility Services

                                                  8
               Case 22-10877-LSS         Doc 6       Filed 09/19/22   Page 9 of 16




List, the Debtors will serve such Utility Provider with a copy of the Court’s order regarding Utility

Services, including the Adequate Assurance Procedures, and increase the Adequate Assurance

Deposit by an amount equal to two weeks of the Debtors’ average cost of services from the

subsequently added Utility Provider. The Debtors request that the terms of such Utility Services

order and the Adequate Assurance Procedures apply to any subsequently identified Utility

Provider to the same extent as if the Utility Provider was listed on the original Utility Providers

List attached hereto. For any Utility Provider that is subsequently removed from the Utility

Providers List, the Debtors request the authority to decrease the Adequate Assurance Deposit by

an amount equal to two weeks of the Debtors’ average cost of services from such removed Utility

Provider.

                                      BASIS FOR RELIEF

       17.     Section 366 of the Bankruptcy Code protects a debtor against the immediate

termination or alteration of utility services after the Petition Date. See 11 U.S.C. § 366. Section

366(c) requires the debtor to provide “adequate assurance” of payment for postpetition services in

a form “satisfactory” to the utility provider within thirty days of the Petition Date, or the utility

provider may alter, refuse, or discontinue service. 11 U.S.C. § 366(c)(2). Section 366(c)(1)

enumerates what constitutes “assurance of payment.” 11 U.S.C. § 366(c)(1). Although assurance

of payment must be “adequate,” it need not constitute an absolute guarantee of the debtors’ ability

to pay. See, e.g., Mass. Elec. Co. v. Keydata Corp. (In re Keydata Corp.), 12 B.R. 156, 158 (B.A.P.

1st Cir. 1981) (“adequate assurance of payment” does not require an absolute guarantee of

payment); In re Great Atl. & Pac. Tea Co., No. 11-CV-1338, at *5 (Bankr. S.D.N.Y. Nov. 14,

2011) (finding that “[c]ourts will approve an amount that is adequate enough to insure against

unreasonable risk of nonpayment, but are not required to give the equivalent of a guaranty of



                                                 9
              Case 22-10877-LSS         Doc 6     Filed 09/19/22     Page 10 of 16




payment in full”); In re Anchor Glass Container Corp., 342 B.R. 872, 875 (Bankr. M.D. Fla. 2005)

(“Section 366 requires a determination that a utility is not subject to unreasonable risk of

nonpayment, but does not require a guarantee of payment”); Steinebach, Jr. et al. v. Tucson Elec.

Power Co. (In re Steinebach, Jr., et al.), 303 B.R. 634, 641 (Bankr. D. Ariz. 2004) (adequate

assurance of payment is not absolute assurance of payment); In re Caldor, Inc., 199 B.R. 1, 3

(S.D.N.Y. 1996) (“Section 366(b) requires . . . adequate assurance of payment. The statute does

not require an absolute guarantee of payment.” (internal quotation and citation omitted)), aff’d sub

nom. Va. Elec. & Power Co. v. Caldor, Inc., 117 F.3d 646 (2d Cir. 1997); Hennen v. The Dayton

Power & Light Co. (In re Hennen), 17 B.R. 720, 725 (Bankr. S.D. Ohio 1982) (“[a]dequate

assurance does not require an absolute guarantee of payment, and is largely a factual

determination”).

       18.     When considering whether a given assurance of payment is “adequate,” the Court

should examine the totality of the circumstances to make an informed decision as to whether the

Utility Provider will be subject to an unreasonable risk of nonpayment. See Mass. Elec. Co. v.

Keydata Corp. (In re Keydata Corp.), 12 B.R. 156, 158 (B.A.P. 1st Cir. 1981) (citing In re Cunha,

1 B.R. 330 (Bankr. E.D. Va. 1979)); In re Adelphia Bus. Solutions, Inc., 280 B.R. 63, 82–83

(Bankr. S.D.N.Y. 2002). Courts have recognized that, in determining the requisite level of

adequate assurance, “a bankruptcy court must focus upon the need of the utility for assurance, and

. . . require that the debtor supply no more than that, since the debtor almost perforce has a

conflicting need to conserve scarce financial resources.” Va. Elec. & Power Co., 117 F.3d at 650

(internal quotations omitted) (citing In re Penn Jersey Corp., 72 B.R. 981, 985 (Bankr. E.D. Pa.

1987)); see also In re Penn. Cent. Transp. Co., 467 F.2d 100, 103–04 (3d Cir. 1972) (affirming

bankruptcy court’s ruling that no utility deposits were necessary where such deposits likely would



                                                10
                 Case 22-10877-LSS       Doc 6     Filed 09/19/22     Page 11 of 16




“jeopardize the continuing operation of the [debtor] merely to give further security to suppliers

who already are reasonably protected”). Accordingly, demands by a Utility Provider for a

guarantee of payment should be refused when the Debtors’ specific circumstances already afford

adequate assurance of payment.

        19.      Here, the Utility Providers are adequately assured against any risk of nonpayment

for future services. The Adequate Assurance Deposit and the Debtors’ ongoing ability to meet

obligations as they come due in the ordinary course, either from operating revenues or from

availability under the Debtors’ proposed postpetition financing facility, provides assurance of the

Debtors’ payment of their future obligations. Moreover, termination of any Utility Services could

result in the Debtors’ inability to operate their business to the detriment of their residents and all

stakeholders. Cf. In re Monroe Well Serv., Inc., 83 B.R. 317, 321–22 (Bankr. E.D. Pa. 1988)

(noting that without utility service, the debtors “would have to cease operations” and that section

366 of the Bankruptcy Code “was intended to limit the leverage held by utility companies, not

increase it”).

        20.      Courts are permitted to fashion reasonable procedures, such as the Adequate

Assurance Procedures proposed herein, to implement the protections afforded under section 366

of the Bankruptcy Code. See, e.g., In re Circuit City Stores Inc., No. 08-35653 (KRH), 2009 WL

484553, at *5 (Bankr. E.D. Va. Jan. 14, 2009) (“The plain language of § 366 of the Bankruptcy

Code allows the court to adopt the Procedures set forth in the Utility Order.”). Such procedures

are important because, without them, the Debtors “could be forced to address numerous requests

by utility companies in an unorganized manner at a critical period in their efforts to reorganize.”

Id. Here, notwithstanding a determination that the Proposed Adequate Assurance constitutes

sufficient adequate assurance, any rights the Utility Providers believe they have under sections



                                                 11
               Case 22-10877-LSS           Doc 6     Filed 09/19/22       Page 12 of 16




366(b) and 366(c)(2) of the Bankruptcy Code are wholly preserved under the Adequate Assurance

Procedures. See id. at *5–6. The Utility Providers still may choose, in accordance with the

Adequate Assurance Procedures, to request modification of the Proposed Adequate Assurance.

See id. at *6. The Adequate Assurance Procedures, however, avoid a disorganized process

whereby each Utility Provider could make a last-minute demand for adequate assurance that would

force the Debtors to pay under the threat of losing critical Utility Services. See id. at *5.

        21.     Because the Adequate Assurance Procedures are reasonable and in accord with the

purposes of section 366 of the Bankruptcy Code, the Court should grant the relief requested herein.

Similar procedures have been approved by courts in this district. See, e.g., In re First Guaranty

Mortgage Corporation, 22-10584 (CTG) (Bankruptcy D. Del. July 1, 2022); In re RentPath

Holdings, Inc., Case No. 20-10312 (BLS) (Bankr. D. Del. Feb. 13, 2020) (approving adequate

assurance deposit equal to one-half of debtor’s average monthly utility expenses); In re Blackhawk

Mining LLC, No. 19-11595 (LSS) (Bankr. D. Del. Aug. 9, 2019) (same); In re Z Gallerie, LLC,

No. 19-10488 (LSS) (Bankr. D. Del. Apr. 9, 2019) (same); In re Things Remembered, Inc., No.

19-10234 (KG) (Bankr. D. Del. Feb. 26, 2019) (same); In re ATD Corp., Case No. 18-12221 (KJC)

(Bankr D. Del. Oct. 26, 2018) (same); In re VER Technologies Holdco LLC, No. 18-10834 (KG)

(Bankr. D. Del. May 4, 2018) (same).4

        22.     Further, the Court possesses the power, under section 105(a) of the Bankruptcy

Code, to “issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.” 11 U.S.C. § 105(a). The Adequate Assurance Procedures and the

Proposed Adequate Assurance are necessary and appropriate to carry out the provisions of the



4
    Because of the voluminous nature of the orders cited herein and their lack of novelty, such orders have
    not been attached to this Motion. Copies of these orders are available upon request of the Debtors’
    proposed counsel.

                                                    12
              Case 22-10877-LSS          Doc 6     Filed 09/19/22     Page 13 of 16




Bankruptcy Code, particularly section 366. Accordingly, the Court should exercise its powers

under sections 366 and 105(a) of the Bankruptcy Code and approve both the Adequate Assurance

Procedures and the Proposed Adequate Assurance.

       23.     The Debtors have sufficient funds to pay the amounts described in this Motion in

the ordinary course of business by virtue of expected cash flows from ongoing business operations

and the proposed debtor-in-possession financing. Under the Debtors’ existing cash management

system, the Debtors believe that checks or wire transfer requests, other than those relating to

authorized payments, will not be honored inadvertently. Therefore, the Debtors respectfully

request that the Court authorize all applicable financial institutions, when requested by the Debtors,

to receive, process, honor, and pay any and all checks or wire transfer requests in respect of the

relief requested in this Motion.

        THE REQUIREMENTS OF BANKRUPTCY RULE 6003 ARE SATISFIED

       24.     Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days after

the Petition Date “to the extent that relief is necessary to avoid immediate and irreparable harm.”

Fed. R. Bankr. P. 6003. For the reasons discussed above, prohibiting Utility Providers from

altering or discontinuing services, authorizing the Debtors to deposit the Proposed Adequate

Assurance, and granting the other relief requested herein are integral to the Debtors’ ability to

transition their operations into these chapter 11 cases smoothly, and to properly care for the well-

being of their patients. Failure to receive such authorization and other relief during the first 21

days of these chapter 11 cases would severely disrupt the Debtors’ operations at this critical

juncture and may risk critical care for patients. For the reasons discussed herein, the relief

requested is necessary in order for the Debtors to operate their business in the ordinary course,

preserve the going concern value of the Debtors’ operations, and maximize the value of their



                                                 13
               Case 22-10877-LSS         Doc 6     Filed 09/19/22      Page 14 of 16




estates for the benefit of all stakeholders. Accordingly, the Debtors submit that they have satisfied

the “immediate and irreparable harm” standard of Bankruptcy Rule 6003 to support granting the

relief requested herein.

       25.     Similarly, unless the Court orders otherwise, Bankruptcy Rule 6004(a) requires the

Debtors to provide 21 days’ notice to all creditors and certain other parties in interest of the use of

property outside of the ordinary course of business. See Fed. R. Bankr. P. 6004(a). Moreover,

unless the Court orders otherwise, Bankruptcy Rule 6004(h) automatically stays for 14 days any

order granting such relief. See Fed. R. Bankr. P. 6004(h). Based on the nature of the relief

requested herein, to the extent applicable, the Debtors submit that, as described above and in the

First Day Declaration, the relief requested in this Motion is necessary to avoid immediate and

irreparable harm to the Debtors that would result from delay in the relief requested herein.

Therefore, the Debtors request that the Court enter an order providing that the notice given of the

relief requested herein is sufficient and satisfies all applicable requirements, and that such relief

shall be immediately effective.

                                  RESERVATION OF RIGHTS

       26.     Nothing contained in this Motion or any actions taken by the Debtors pursuant to

relief granted in the Interim Order and Final Order is intended or shall be construed as: (a) an

admission as to the validity, priority, or amount of any particular claim against a Debtor entity; (b)

a waiver of the Debtors’ or any other party in interest’s rights to dispute any particular claim on

any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication or

admission that any particular claim is of a type specified or defined in this Motion or any order

granting the relief requested by this Motion; (e) a request or authorization to assume any

agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or



                                                  14
               Case 22-10877-LSS         Doc 6     Filed 09/19/22      Page 15 of 16




limitation of the Debtors’ or any other party in interest’s rights under the Bankruptcy Code or any

other applicable law; or (g) a concession by the Debtors or any other party in interest that any liens

(contractual, common law, statutory, or otherwise) satisfied pursuant to this Motion are valid and

the Debtors and all other parties in interest expressly reserve their rights to contest the extent,

validity, or perfection, or to seek avoidance of all such liens. If the Court grants the relief sought

herein, any payment made pursuant to the Court’s Interim Order and Final Order is not intended

and should not be construed as an admission as to the validity, priority, or amount of any particular

claim or a waiver of the Debtors’ or any other party in interest’s right to subsequently dispute such

claim.

                                              NOTICE

         27.   Notice of this Motion is being provided to: (i) the U.S. Trustee; (ii) the Internal

Revenue Service; (iii) the United States Attorney for the District of Delaware; (iv) the Centers for

Medicare & Medicaid Services; (v) the Attorney General for the State of California; (vi) all parties

on the Debtors’ consolidated list of 30 largest unsecured creditors; (vii) the Utility Providers listed

on Exhibit C; and (ix) all parties entitled to notice pursuant to Local Rules 2002-1(b) and 9013-

1(m). As this Motion is seeking “first day” relief, within two business days of the hearing on this

Motion, the Debtors will serve copies of this Motion and any order entered in respect to this Motion

as required by Local Rule 9013-l(m). The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be given.

                                      NO PRIOR REQUEST

         28.   No prior request for the relief sought in this Motion has been made to this or any

other court.




                                                  15
               Case 22-10877-LSS         Doc 6     Filed 09/19/22      Page 16 of 16




                                          CONCLUSION

       WHEREFORE, the Debtors respectfully request entry of the Proposed Orders granting the

relief requested herein, and such other and further relief as is just and proper.




Dated: September 19, 2022                      /s/ Laura Davis Jones
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                                               Possession




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